






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-06-202 CR


____________________



FLORA MAE TENO, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 94241






MEMORANDUM OPINION


	Flora Mae Teno was convicted and sentenced on an indictment for possession of a
controlled substance.  Teno filed a notice of appeal on May 4, 2006.  The trial court entered
a certification of the defendant's right to appeal in which the court certified that this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The
trial court's certification has been provided to the Court of Appeals by the district clerk.


	On May 19, 2006, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a part
of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been supplemented
with an amended certification.  Because a certification that shows the defendant has the right
of appeal has not been made part of the record, the appeal must be dismissed.  See Tex. R.
App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								___________________________

									HOLLIS HORTON

										 Justice


Opinion Delivered July 26, 2006

Do Not Publish

Before McKeithen, C.J., Gaultney and Horton, JJ.


